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                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                              Case No. 1:22-cr-00099-BLW
        Plaintiff,
                                              MEMORANDUM DECISION
         v.                                   AND ORDER

  SARAH WONDRA,

        Defendant.



                                INTRODUCTION
      On May 10, 2022, a grand jury returned a single-count indictment against

Defendant Sarah Wondra charging her with unlawfully possessing a firearm as a

felon in violation of 18 U.S.C. § 922(g)(1). Dkt. 1. Ms. Wondra now moves to

dismiss indictment against her. Dkt. 28. She argues that the charge violates the

Second Amendment under the test the Supreme Court announced in New York

State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022). For the

reasons discussed below, the Court will deny the motion.

                                  DISCUSSION

      In District of Columbia v. Heller, the Supreme Court recognized an

individual right under the Second Amendment to keep and bear arms with the




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explicit limitation that “nothing in our opinion should be taken to cast doubt on

longstanding prohibitions on the possession of firearms by felons . . . .” 554 U.S.

570, 626 (2008). The Court went on to describe regulations prohibiting felons from

possessing firearms as “presumptively lawful,” id. at 626 n.26, and explained that

“there will be time enough to expound upon the historical justifications” for such a

prohibition. Id. at 635. See also McDonald v. Chicago, 561 U.S. 742, 786 (2010)

(“We made it clear in Heller that our holding did not cast doubt on such

longstanding regulatory measures as prohibitions on the possession of firearms by

felons . . . .”). Relying on Heller, the Courts of Appeals, including the Ninth

Circuit, uniformly upheld the constitutionality of § 922(g)(1). See Van Der Hule v.

Holder, 759 F.3d 1043, 1051 (9th Cir. 2014) (“§ 922(g)(1) continues to pass

constitutional muster”); United States v. Vongxay, 594 F.3d 1111, 1118 (9th Cir.

2010) (“§ 922(g)(1) does not violate the Second Amendment as it applies to

Vongxay, a convicted felon”).

      Unless that Ninth Circuit precedent is overruled, it binds the Court and

requires the denial of Ms. Wondra’s motion. Ninth Circuit precedent is “effectively

overruled” when “the reasoning or theory of our prior circuit authority is clearly

irreconcilable with the reasoning or theory of intervening higher authority.” Miller

v. Gammie, 335 F.3d 889, 890, 893 (9th Cir. 2003) (en banc). “The clearly




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irreconcilable requirement is a high standard.” Close v. Sotheby’s, Inc., 894 F.3d

1061, 1073 (9th Cir. 2018) (quotation omitted). “[I]t is not enough for there to be

some tension between the intervening higher authority and prior circuit precedent,

or for the intervening higher authority to cast doubt on the prior circuit precedent.”

Id. (quotation omitted).

        The present motion therefore hinges on whether Bruen “effectively

overruled” Heller and Vongxay. At least five justices indicated their explicit intent

to the contrary. Justice Kavanaugh, joined by Chief Justice Roberts, wrote a

concurring opinion to “underscore” that Bruen did not upset the Court’s holdings

in Heller that “[n]othing in our opinion should be taken to cast doubt on

longstanding prohibitions on the possession of firearms by felons.” Bruen, 142 S.

Ct. at 2161-62 (quoting Heller, 554 U.S. at 626-27). In dissent, Justice Breyer,

joined by Justices Kagan and Sotomayor, wrote that Bruen “cast[s] no doubt on”

Heller’s treatment of laws prohibiting firearms possession by felons. Id. at

2189 (Breyer, J., dissenting). Although the majority opinion did not address the

issue specifically, it did say that its holding was “in keeping with Heller.” Id. at

2126.

        More importantly, Bruen’s reasoning is not clearly irreconcilable with the

reasoning of Vongxay and Heller. In Bruen, the Court set out a two-step




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framework “to assess whether modern firearms regulations are consistent with the

Second Amendment’s text and historical understanding.” 142 S. Ct. at 2131. The

first prong of the Bruen test is textual: “When the Second Amendment’s plain text

covers an individual’s conduct, the Constitution presumptively protects that

conduct.” Id. at 2129-30. The second prong is historical: “The government must

then justify its regulation by demonstrating that it is consistent with the Nation’s

historical tradition of firearm regulation.” Id.

      The Ninth Circuit’s reasoning in Vongxay is consistent with that critical

second prong. The court determined that “[o]ur examination . . . of historical gun

restrictions . . . lends credence to the post-Heller viability” of the previous

determination that 18 U.S.C. § 922(g)(1) does not violate the Second Amendment.

Vongxay, 594 F.3d at 1116. The court went on,

             We observe that most scholars of the Second Amendment agree
             that the right to bear arms was ‘inextricably . . . tied to’ the
             concept of a ‘virtuous citizen[ry]’ that would protect society
             through ‘defensive use of arms against criminals, oppressive
             officials, and foreign enemies alike,’ and that ‘the right to bear
             arms does not preclude laws disarming the unvirtuous citizens
             (i.e. criminals) . . . .’

Id. at 1118 (citing Don B. Kates, Jr., The Second Amendment: A Dialogue, 49 Law

& Contemp. Probs. 143, 146 (1986)). Granted, the court recognized that “the

historical question has not been definitively resolved.” Id. But even so, that limited




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tension between Vongxay and Bruen is not enough to find that Bruen “effectively

overruled” Vongxay.

      Although Ms. Wondra would like the Court to scrutinize the history of

felon-in-possession statutes, such examination is unnecessary at this time. The

Court is bound by Vongxay and the motion must be denied.

                                     ORDER

      IT IS ORDERED that:

      1.       Defendant’s Motion to Dismiss (Dkt. 28) is DENIED.



                                             DATED: December 27, 2022


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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